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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO




 ADREE EDMO,
                                                  Case No. 1:17-cv-00151-BLW
                       Plaintiff,
                                                  MEMORANDUM DECISION AND
 v.                                               ORDER

 IDAHO DEPARTMENT OF
 CORRECTION, et al.,

                       Defendants.



                                     INTRODUCTION

       Before the Court is Defendants’ Joint Motion to Stay Order [Dkt. 149] Pending

Appeal. Dkt. 156. For the reasons set forth below, Defendants’ motion is denied.

                                     BACKGROUND

       The Court issued its Findings of Fact, Conclusion of Law, and Order in this case

after a three-day evidentiary hearing. Dkt. 149. During that hearing, Ms. Adree Edmo

established that she was entitled to gender confirmation surgery by June 13, 2019. The

Court will not repeat all the factual and legal conclusions that led to its decision, but will

highlight the following portion of the Court’s order:

       The risks of not providing gender confirmation surgery to Ms. Edmo include
       surgical self-treatment, emotional decompensation, and risk of suicide given her
       high degree of suicide ideation. Tr. 80:24:81:8, 264:13-22. If she is not provided
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       with surgery, Ms. Edmo has indicated that she will try self-surgery again to deal
       with her extreme episodes of gender dysphoria. Tr. 199:24-200:5. Given that Ms.
       Edmo made increasing progress on her first two self-surgery attempts, it is likely
       that Ms. Edmo will be successful if she attempts self-surgery again. Tr. 264:13-
       22.

Edmo v. Idaho Dep’t of Correction, No. 1:17-CV-00151-BLW, 2018 WL 6571203, at

*12 (D. Idaho Dec. 13, 2018) (emphasis added).

                                    LEGAL STANDARD

       Granting a stay is “an exercise of judicial discretion” that is “dependent upon the

circumstances of the particular case.” Nken v. Holder, 556 U.S. 418, 433, (2009). The

Supreme Court suggested in Hilton v. Braunskill, 481 U.S. 770, 776 (1987) that the trial

court, in exercising its discretion, should consider four factors: “(1) whether the stay

applicant has made a strong showing that he is likely to succeed on the merits; (2)

whether the applicant will be irreparably injured absent a stay; (3) whether issuance of

the stay will substantially injure the other parties interested in the proceeding; and (4)

where the public interest lies.”

       The Ninth Circuit has suggested that the Hilton factors should be applied using a

“sliding scale” approach in which a stronger showing of one element may offset a weaker

showing of another. Peck Ormsby Const. Co. v. City of Rigby, No. CIV. 1:10-545 WBS,

2012 WL 914915, at *3 (D. Idaho Mar. 15, 2012). The moving party bears the burden of

showing that the circumstances justify an exercise of the court’s discretion and must

show at least a minimum threshold for each factor. Nken, 556 U.S. at 434. However, the

“first two factors ... are the most critical.” Id.

                                          ANALYSIS

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       Defendants, in seeking a stay, rehash the arguments they presented during the

three-day evidentiary hearing in this case. The Court was unpersuaded by the arguments

then, and remains so now. Applying the Hilton factors to the findings of fact contained in

the Court’s prior decision, Defendants have failed to carry their burden to show that a

stay is appropriate.

       While there is no certainty as to how this case will be viewed on appeal, the Court

is firmly convinced that its decision is supported by the facts and law presented during

the hearing. I must, therefore conclude that the Defendants have not made a strong

showing that they are likely to succeed on appeal.

       The Court is not persuaded that the Defendants will be irreparably injured absent a

stay. Indeed, it is difficult to see how providing medical treatment to an inmate could

ever constitute an irreparable injury.

       By comparison, the Court is convinced that issuing the stay will substantially

injure Ms. Edmo for the reasons identified in that portion of the Court’s decision quoted

above. Indeed, given Edmo’s past actions, time is of the essence.

       Finally, I am also persuaded that there is a strong public interest in ensuring that

our prisons are not deliberately indifferent to the serious medical needs of its inmates.

       The Court will offer just one more thought: Ms. Edmo’s testimony and that of her

experts conclusively established, in the Court’s opinion, that there is a substantial risk

that Ms. Edmo will make a third attempt to self-castrate if the Defendants continue to

deny her gender confirmation surgery. In short, her medical needs are urgent. The

Constitution requires Defendants to act accordingly.

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                                     ORDER

     IT IS ORDERED:

  1. Defendants’ Joint Motion to Stay Order [Dkt. 149] Pending Appeal (Dkt. 156) is

     DENIED.



                                             DATED: March 4, 2019


                                             _________________________
                                             B. Lynn Winmill
                                             U.S. District Court Judge




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